Case 20-00301 Document 1-4 Filed in TXSB on 01/13/20 Page 1of1

Robert Payton Davis
4834 Comal River Loop
Spring, TX 77386

Ocwen Loan Servicing
1661 Worthington Road, Suite 100
West Palm Beach, FL 33409

RE: Loan #: 0038350682 and 0038348249
Borrowers: Robert Payton Davis

SS#: XXX-XX-3956

Property Address: 4834 Comal River Loop
Spring, TX 77386

To Whom It May Concern:

iam writing this letter to request that my note be lowered and to explain why | am requesting a
modification. My wife and | have suffered a dramatic loss of income. in 2012 my wife was
diagnosed with lupus. Since then her condition has seriously deteriorated. As a chief engineer
in the oil industry, my job required my being offshare for extended periods of time. in
December, my wife suffered a major health episode and | was unable to continue working
offshore. As a result, | lost my job. | recently found a job and am getting back on my feet but |
cannot afford to pay the past due escrow shortage at one time. {want to stay in our home,
but | need to have my loan modified so that my noze would be $872.22 (including taxes and
insurance). | am also asking that my interest rate be reduced to 2 percent or less and the
escrow shortage be placed in the back of the loan.

What | am really asking is for you to lower my interest rate to at least 2%, and reduce the
principal. lam also interested in a principal reduction, SAM program or a plan that allows me
to pay interest only or even extend the term of the loan. | Thank you in advance for helping
me keep my home.

Sincerely,
€

hh FD ave

Robert Payton Davis
